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                  14       Attorneys for the Plaintiff
                           JONATHAN COON
                  15

                  16                                      UNITED STATES DISTRICT COURT

                  17                                     NORTHERN DISTRICT OF CALIFORNIA

                  18                                           SAN FRANCISCO DIVISION

                  19       JONATHAN COON,                                     CASE NO. 3:13-CV-05191-RS
                                                                               ORDER
                  20                                      Plaintiff,          NOTICE OF STIPULATION FOR
                                                                              VOLUNTARY DISMISSAL PURSUANT
                  21                  vs.                                     TO RULE 41 OF THE FEDERAL RULES
                                                                              OF CIVIL PROCEDURE
                  22
                           REVEAL LABS, INC., a Delaware
                  23       corporation, and NICHOLAS EVANS, a
                           California resident,
                  24

                  25                              Defendants.
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H OPKINS & C ARLEY
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  ATTO RNEY S AT LAW
      SAN JO SE            NOTICE OF STIPULATION FOR VOLUNTARY DISMISSAL PURSUANT TO RULE 41 OF
                           THE FEDERAL RULES OF CIVIL PROCEDURE                                     3:13-CV-05191-RS
                       1            Pursuant to Rule 41(a)(1)(A) of the Federal Rules of Civil Procedure, and in view of the
                       2   parties’ agreement settling this dispute, Plaintiff Jonathan Coon and Defendants Reveal Labs, Inc.
                       3   and Nicholas Evans hereby stipulate to the dismissal of all claims in this action with prejudice.
                       4   Dated: November 27, 2013                             HOPKINS & CARLEY
                                                                                A Law Corporation
                       5
                       6
                                                                                By: /s/ John V. Picone III
                       7                                                           John V. Picone III
                                                                                   Attorneys for Plaintiff
                       8                                                           JONATHAN COON
                       9
                           Dated: November 27, 2013                             DURIE TANGRI LLP
                  10

                  11
                                                                                By: /s/ Michael H. Page
                  12                                                               Michael H. Page
                                                                                   Kristy A. Murphy
                  13                                                               Attorneys for Defendant
                                                                                   REVEAL LABS, INC.
                  14                                                               NICHOLAS EVANS
                  15

                  16       PURSUANT TO STIPULATION, IT IS SO ORDERED.
                  17

                  18       Dated:     11/27               , 2013
                  19                                                      By:
                                                                                District Judge Richard Seeborg
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H OPKINS & C ARLEY                                                          -2-
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  ATTO RNEY S AT LAW
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                           THE FEDERAL RULES OF CIVIL PROCEDURE                                                  3:13-CV-05191-RS
